                            Case 3:24-cv-00187-MMD-CLB Document 18 Filed 06/28/24 Page 1 of 3




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             5

             6

             7                                    UNITED STATES DISTRICT COURT
             8                                          DISTRICT OF NEVADA
             9
                      MELISSA MARTINEZ REDDICK
           10         as Guardian of JOHN DOE, a minor,                  Case No.: 3:24-cv-00187-MMD-CLB
                      on his behalf,
           11                                                            ORDER GRANTING
                                    Plaintiffs,                          STIPULATION FOR EXTENSION
           12                                                            OF TIME TO FILE RESPONSE
           13         vs.                                                TO COMPLAINT
                                                                         [SECOND REQUEST]
           14         CARSON CITY SCHOOL
                      DISTRICT, a political subdivision of
           15         the State of Nevada, TAMMY
                      BORREMANS, individually, AMY
           16         ROBINSON, individually, ANDREW
           17         FUELING, individually, DOE
                      individuals I-V, ROE Corporations 1-
           18         10.

           19                     Defendants.
                      ____________________________________/
           20

           21               Pursuant to Local Rule LR IA 6-2 and LR 7-1, Defendant, CARSON CITY SCHOOL
           22        DISTRICT (“CCSD”); Defendant, AMY ROBINSON (“Robinson”); Defendant, ANDREW
           23        FUELING (“Fueling”); Defendant, TAMMY BORREMANS (“Borremans”), collectively
           24        referred to herein as “Defendants” or by their individual names; and Plaintiff     MELISSA
           25        MARTINEZ REDDICK, as Guardian of JOHN DOE, a minor, on his behalf (“Plaintiff”), by and
           26        through their undersigned counsel stipulate to extend the deadline for filing responses to the




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                           Case 3:24-cv-00187-MMD-CLB Document 18 Filed 06/28/24 Page 2 of 3




             1       Complaint filed by Plaintiff on April 22, 2024 (ECF 1).
             2              This Stipulation is made in good faith and not for the purposes of delaying this proceeding.
             3       The Parties submit that good cause exists for this Court to grant the requested extension of the
             4       time to respond to the Complaint based on the following facts:
             5              1.       Waivers of Service (“Waivers”) were sent by Plaintiff to all Defendants on May
             6       9, 2024. Defendants executed the Waivers which were filed with the Court on June 4, 2024 (ECF
             7       7, ECF 8, ECF 9, ECF, 10).
             8              2.       The current deadline for filing responses to the Complaint is Monday, July 8, 2024.
             9              3.       Based on recent events, Plaintiff is currently in the process of seeking new counsel
           10        and will be filing a substitution of counsel once counsel has been retained.
           11               4.       The Parties submitted a Stipulation to extend the deadline for filing responses to
           12        the Complaint on June 26, 2024 (ECF 15). The Court entered its Order Denying Stipulation for
           13        Extension of Time (ECF 16) on June 27, 2024. In response to the Court’s Order, the Parties submit
           14        this Stipulation to address the Court’s concerns of an indefinite extension of time.
           15               5.       It is the intent of Defendants to file motions to dismiss the Complaint as their
           16        responsive pleading.
           17               6.       Based on Plaintiff’s current search for new counsel, the Parties wish to extend the
           18        deadline for filing their responses to the Complaint so as to not place the Plaintiff in a position of
           19        disadvantage.
           20               7.       Should Plaintiff fail to retain substitute counsel within ninety (90) days following
           21        entry of the Court’s order approving this Stipulation, Defendants will file responsive pleadings
           22        within fourteen (14) days thereafter.
           23        ///
           24        ///
           25        ///
           26        ///




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             1              8.      Based on the foregoing, the Parties stipulate to extend the deadline for filing
             2       responses to the Complaint no later than 14 days following Plaintiff’s filing of a substitution of
             3       counsel with the Court, or within 104 days following this Court’s entry of the order approving
             4       this Stipulation, whichever may first occur.
             5        Dated this 27th day of June, 2024.                 Dated this 27th day of June, 2024.
             6
                      MAUPIN, COX & LeGOY                                ALEXANDER & ASSOCIATES, INC.
             7
                      By: /s/ Paul J. Anderson                           By: /s/ Ann M. Alexander
             8            Paul J. Anderson, Esq., NSB #709                    Ann M. Alexander, Esq., NSB #7256
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           11             panderson@mcllawfirm.com                            alexander@amalex.com
                          Attorneys for Defendants Carson City                Attorney for Defendant
           12             School District, Amy Robinson, and                  Tammy Borremans
                          Andrew Feuling
           13

           14         Dated this 27th day of June, 2024.

           15         CHATTAH LAW GROUP

           16         By: /s/ Sigal Chattah
                          Sigal Chattah, Esq., NSB #8264
           17
                          Chattah Law Group
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                          Las Vegas, NV 89118
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                          Fax: (702) 643-6292
           20             chattahlaw@gmail.com
           21
                          Joseph S. Gilbert, Esq. NSB #9033
                                                                     IT IS SO ORDERED.
           22             Joey Gilbert Law
                          405 Marsh Avenue
           23                                                        DATED: ____________________
                                                                             June 28, 2024
                          Reno, NV 89509
                          Tel.: (775) 284-7700
           24             Fax: (775) 284-3809
                          joey@joeygilbertlaw.com
           25
                         Attorneys for Plaintiff
                                                                     _________________________________
           26                                                        U.S. MAGISTRATE JUDGE



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